 Case 1:18-cr-10074-STA         Document 176       Filed 11/13/18      Page 1 of 1    PageID 330




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:18-10074-STA-5
                                    )
ALISA LEE,                         )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on November 13, 2018, Assistant United States Attorney, Matt
Wilson, appearing for the Government and the defendant, Alisa Lee, appearing in person, and with
counsel, Coleman Garrett.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 2 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, FEBRUARY 12, 2019 at 1:30 P.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 13th day of November, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
